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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 ANTHONY BARONE, on behalf of himself :
 and all others similarly situated,   :
                                      : No. 3:17-cv-1545-VLB
 Plaintiffs,                          :
                                      :
 v.                                   : NOVEMBER 2, 2020
                                      :
 LAZ PARKING LTD, LLC,                :
                                      :
 Defendants.                          :

  DECISION GRANTING PARTIAL FINAL JUDGMENT IN FAVOR OF PLAINTIFFS
        WHO ACCEPTED RULE 68 OFFERS OF JUDGMENT [DKT. 121]

      The underlying complaint brought by Terrell Day alleges Defendant violated

the Fair Labor Standard Act (“FLSA”), 29 U.S.C. §§ 201 et seq. by failing to pay

overtime wages to Mr. Day and others who are similarly situated (“Collective Action

Members”). [Dkt. 1]. The Plaintiffs substituted Mr. Day as the named Plaintiff with

Anthony Barone. [Dkt. 42, 45]. The action was conditionally certified. [Dkt. 70].

      On August 20, 2020, the Plaintiffs filed a Notice of Acceptance of Offers of

Judgment. [Dkt. 110]. This Notice provides that 59 of the action members have

accepted offers of judgment. Id. Judgement has not been entered as to any of

these Plaintiffs. Plaintiffs have moved for an entry of partial judgment as to the 59

aforementioned Plaintiffs. [Dkt. 121]. Defendant does not oppose the motion.

      Federal Rules of Civil Procedure Rule 54(b) authorizes a court to enter partial

final judgment “as to one or more, but fewer than all, claims or parties” when: “(1)

there are multiple claims or parties; (2) at least one claim or the rights and liabilities

of at least one party has been finally determined; and (3) the court makes an

‘express[] determin[ation] that there is no just reason for delay.’” Acumen Re

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Mgmt. Corp. v. Gen. Sec. Nat'l Ins. Co., 769 F.3d 135, 140 (2d Cir. 2014) (quoting Fed

R. Civ. P. 54(b)). The Court finds that there are multiple parties in this action, that

59 of those parties have reached final determinations as to their claims, and there

is not just reason for delay. Therefore, the criteria for partial judgment has been

met and the Plaintiff’s motion is GRANTED.

      The Clerk is directed to enter judgment as to Plaintiffs: Babatunde I.

Akarigidi, Shamsher Ali, Sultan Ali, Bradley Allen, Maurice Allen, Ruben Altounian,

Henry Alvarado, Michael R. Alvarado, Jesse R. Atkins, James Barthel, Ryan Z.

Castro, Yovanni Castro, Chad E. Clark, Cesar G. Contreras, Matthew Cooper, Jose

Cordero, Terrance L. Darden, Alex James Dawson, Anthony Degidio, Francky

Desilmat, Julia Dyman, Yassine El Andaloussi, Timothy J. Ferko, Brian K. Francis,

Zachary Gibson, Geordan R. Grant, Jonathan. Grzely, Aida Hall, Anthony Hall,

Mandie Hampshire, Lucas P. Holiday, Earnest Jefferson, Francisco A. Johnson,

Bryan Jones, Courtney J. Kelley, Joseph Lewis, Keith C. Lohnes, Pablo F. Lopez,

Lesli A. Luna, Joseph E. Maltese, Luis G. Marcilli-Hernandez, Patrick M. McManus,

Steven Miller, Jhonneri Munoz, Sean Murphy, Julio A. Penuela, Porsche Perry,

Demetry Emmanuel Roberts, Javon Ross, Stanley Sutton, Jayne Swinney, Carlos

Talamantes, Ronald Taliaferro, Keischa Taylor, Elmer Vences, Raul A. Ventura,

Terry C. Wallace, Shane Roman Webber, and Robert Wheaton.

      IT IS SO ORDERED.

                                              _____/s/_____________
                                              Hon. Vanessa L. Bryant
                                              United States District Judge


Dated this day in Hartford, Connecticut: November 2, 2020

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